                Case 4:15-cr-00101-JM          Document 543        Filed 08/18/16                 FILED
                                                                                        Page 1 of 1
                                                                                                U.S. DISTRICT COURT
                                                                                            EASTERN DISTRICT ARKANSAS

~AO 245A   Rev. 12/03 Jud




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                       _ _ _ _ _ _ DISTRICT OF _ _ _ _ _ _AR_K_A_N_S_A_S_ _ _ _ __

        UNITED STATES OF AMERICA
                                                              JUDGMENT OF ACQUITTAL
                            v.
      AARON PAUL BORENGASSER
                                                              CASE NUMBER: 4: 15cr00101-07 JM




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       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged, and any
bond exonerated on Count 1 of the Indictment, Superseding Indictment, and Second Superseding Indictment




James M. Moody Jr. - Di trict Judge
Name of Judge                     Title of Judge
